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                                Exhibit
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                               UNITED STATES DISTRICT COURT
                       IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA

                                            MIAMI DIVISION


    AMA MULTIMEDIA, LLC, a Nevada
    limited liability company                                             Case No.
                                                                    1:15-cv-24289-FAM
         Plaintiff,

    v.

    ERA TECHNOLOGIES, LTD, a British
    Virgin Islands company, individually and
    d/b/a DRTUBER.COM and d/b/a
    DRTST.COM;
    IGOR KOVALCHUCK, individually and
    d/b/a DRTUBER.COM and d/b/a
    DRTST.COM;
    WEBZILLA INC.;
    WZ COMMUNICATIONS, INC.; and
    John Does 1-20,

         Defendants.


   WEBZILLA INC. AND WZ COMMUNICATIONS, INC.’S ANSWER TO COMPLAINT
      FOR DAMAGES, INJUNCTIVE RELIEF AND DEMAND FOR JURY TRIAL

            The Internet Service Provider Defendants Webzilla Inc. and WZ Communications, Inc.

   (“ISP Defendants”), for their Answer to the Complaint for Damages, Injunctive Relief and

   Demand for Jury Trial of Plaintiff AMA Multimedia LLC (“Plaintiff”) answer as follows:

                                      JURISDICTION AND VENUE

            1.        ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

            2.        ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.



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          3.      ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          4.      ISP Defendants admit only that Webzilla, Inc. is a corporation incorporated in

   Florida and that Constantin Luchian is the DMCA agent for Webzilla, Inc. ISP Defendants deny

   the remaining allegations in this paragraph. In answering further ISP Defendants specifically

   state that Webzilla Inc. does not host DrTuber.com or Drtst.com whether in Florida or

   California or elsewhere. ISP Defendants state further that they do not direct, control, or assist in

   determining the content on the DrTuber.com or Drtst.com websites. Even if the other

   Defendants were clients of Webzilla, Inc., Webzilla, Inc. provides server space only to its clients

   (though not to DrTuber.com or Drtst.com) and has no control or knowledge over the content of

   its clients’ websites. Answering further, ISP Defendants state that Constantin Luchian is not an

   executive of Webzilla, Inc.

          5.      ISP Defendants admit only that WZ Communications Inc. is a corporation

   incorporated in Florida and that Constantin Luchian is the DMCA agent for WZ

   Communications Inc. ISP Defendants deny the remaining allegations in this paragraph. In

   answering further ISP Defendants specifically state that WZ Communications Inc. does not host

   DrTuber.com or Drtst.com whether in Florida or California or elsewhere. ISP Defendants

   state further that they do not direct, control, or assist in determining the content on DrTuber.com

   or Drtst.com websites. Even if the other Defendants were clients of WZ Communications, Inc.,

   WZ Communications Inc. provides internet connectivity only (though not to DrTuber.com or

   Drtst.com) and has no control or knowledge over the content of its clients’ websites. Answering

   further, ISP Defendants state that Constantin Luchian is not an executive of either ISP

   Defendants.



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           6.     ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           7.     ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           8.     ISP Defendants state that this allegation is so ambiguous and incomprehensible

   that it is impossible for ISP Defendants to appropriately admit or deny the allegations of this

   paragraph and therefore deny the same.

           9.     ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           10.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           11.    This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary to the remaining portions of this paragraph: ISP

   Defendants admit only that the ISP Defendants transact business in this Judicial District and

   deny the remaining allegations of this paragraph as they relate to ISP Defendants. ISP



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   Defendants are without sufficient information or knowledge to admit or deny the allegations of

   this paragraph as they relate to the other Defendants and therefore deny the same.

          12.     This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary, ISP Defendants deny the allegations of this

   paragraph.

          13.     This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary, ISP Defendants deny the allegations of this

   paragraph.

          14.     This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary, ISP Defendants deny the allegations of this

   paragraph.

          15.     This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary, ISP Defendants deny the allegations of this

   paragraph.

          16.     This paragraph contains conclusions of law for which no response is required, but

   to the extent a response is deemed necessary, ISP Defendants deny the allegations of this

   paragraph.

                                              PARTIES

          17.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          18.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.




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          19.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          20.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          21.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          22.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          23.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          24.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          25.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          26.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          27.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          28.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

          29.     ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.




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           30.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           31.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           32.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           33.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           34.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           35.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           36.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           37.    ISP Defendants deny the allegations of this paragraph. In answering further ISP

   Defendants state that they are not even Internet Service Providers for Drtuber.com and are not

   beneficiaries or operators of Drtuber.com or Drtst.com nor do they direct, control or assist in

   determining the content displayed on drtuber.com, whether directly or through assigns.

           38.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.




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           39.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           40.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           41.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           42.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           43.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           44.    This paragraph contains a conclusion of law to which no responsive pleading is

   necessary, but to the extent a response is deemed necessary: ISP Defendants deny the allegations

   of this paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient



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   information or knowledge to admit or deny the allegations of this paragraph as they relate to the

   other Defendants and therefore deny the same.

           45.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           46.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

                                      STATEMENT OF FACTS

           47.    This paragraph contains only conclusions of law, speculation and legal argument,

   requiring no response. However, to the extent a response is deemed necessary, ISP Defendants

   deny the allegations of this paragraph.

           48.    This paragraph contains only conclusions of law, speculation and legal argument,

   requiring no response. However, to the extent a response is deemed necessary, ISP Defendants

   deny the allegations of this paragraph.

           49.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           50.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           51.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.



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           52.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           53.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           54.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           55.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           56.    This paragraph contains a conclusion of law to which no responsive pleading is

   necessary, but to the extent a response is deemed necessary: ISP Defendants deny the allegations

   of this paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient

   information or knowledge to admit or deny the allegations of this paragraph as they relate to the

   other Defendants and therefore deny the same.

           57.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           58.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny



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   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           59.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           60.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           61.    ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           62.    ISP Defendants deny the allegations of this paragraph.

           63.    ISP Defendants deny the allegations of this paragraph.

           64.    ISP Defendants deny the allegations of this paragraph.

                                         COUNT I
                       Copyright Infringement – 17 U.S.C. § 101 et. seq.
      Against Igor Kovalchuck and Doe Defendants (Owners/Operators of Dr. Tuber.com)

           65.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants repeat, re-state and incorporate by reference their

   responses to paragraphs 1 through 63 above and further respond that:

           66.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants are without sufficient information or knowledge

   to admit or deny the allegations of this paragraph and therefore deny the same.

           67.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants are without sufficient information or knowledge

   to admit or deny the allegations of this paragraph and therefore deny the same.




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          68.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          69.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          70.     This paragraph states a conclusion of law to which no responsive pleading is

   necessary. Additionally, this Count is not brought against ISP Defendants. To the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          71.     This paragraph states a conclusion of law to which no responsive pleading is

   necessary. Additionally, This Count is not brought against ISP Defendants. To the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.




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          72.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          73.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          74.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          75.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          76.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to



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   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          77.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          78.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          79.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          80.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.




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          81.     This paragraph states a conclusion of law to which no responsive pleading is

   necessary. Additionally, This Count is not brought against ISP Defendants. To the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          82.     This paragraph states a conclusion of law to which no responsive pleading is

   necessary. Additionally, This Count is not brought against ISP Defendants. To the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          83.     This paragraph states a conclusion of law to which no responsive pleading is

   necessary. Additionally, This Count is not brought against ISP Defendants. To the extent that a

   response is deemed necessary, ISP Defendants deny the allegations of this paragraph as they

   relate to ISP Defendants. ISP Defendants are without sufficient information or knowledge to

   admit or deny the allegations of this paragraph as they relate to the other Defendants and

   therefore deny the same.

          84.     This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, this paragraph contains conclusions of law for which no response

   is required. But to the extent a response is deemed necessary, ISP Defendants deny the

   allegations of this paragraph as they relate to ISP Defendants. ISP Defendants are without




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   sufficient information or knowledge to admit or deny the allegations of this paragraph as they

   relate to the other Defendants and therefore deny the same.

           85.    This Count is not brought against ISP Defendants, but to the extent that a

   response is deemed necessary, this paragraph contains conclusions of law for which no response

   is required. But to the extent a response is deemed necessary, ISP Defendants deny the

   allegations of this paragraph.

           WHEREFORE, ISP Defendants pray for the following relief:

           A.     That judgment enter for ISP Defendants and against Plaintiff with respect to this

   Count and that Plaintiff’s requested relief be denied in its entirety;

           B.     That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and

           C.     For such further relief as the Court deems just and proper.

                                             COUNT II
                                 Contributory Copyright Infringement
                                        Against All Defendants

           86.    ISP Defendants repeat, re-state and incorporate by reference their responses to

   paragraphs 1 through 85 above and further respond that:

           87.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           88.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny




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   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           89.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           90.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           91.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           92.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           93.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.




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           94.    This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           95.    This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           96.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           97.    This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           98.    This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.




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           99.    This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           WHEREFORE, ISP Defendants pray for the following relief:

           A.     That judgment enter for ISP Defendants and against Plaintiff with respect to this

   Count and that Plaintiff’s requested relief be denied in its entirety;

           B.     That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and

           C.     For such further relief as the Court deems just and proper.


                                              COUNT III
                                   Vicarious Copyright Infringement
                                        Against All Defendants

           100.   ISP Defendants repeat, re-state and incorporate by reference their responses to

   paragraphs 1 through 99 above and further respond that:

           101.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           102.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           103.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

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   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           104.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           105.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           106.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           107.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           108.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.



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           109.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           WHEREFORE, ISP Defendants pray for the following relief:

           A.     That judgment enter for ISP Defendants and against Plaintiff with respect to this

   Count and that Plaintiff’s requested relief be denied in its entirety;

           B.     That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and

           C.     For such further relief as the Court deems just and proper.

                                            COUNT IV
                                Inducement of Copyright Infringement
                                       Against All Defendants

           110.   ISP Defendants repeat, re-state and incorporate by reference their responses to

   paragraphs 1 through 109 above and further respond that:

           111.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           112.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           113.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this



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   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           114.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           115.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           116.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary: ISP Defendants deny the allegations of this

   paragraph as they relate to ISP Defendants. ISP Defendants are without sufficient information or

   knowledge to admit or deny the allegations of this paragraph as they relate to the other

   Defendants and therefore deny the same.

           117.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           118.   This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           WHEREFORE, ISP Defendants pray for the following relief:




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           A.     That judgment enter for ISP Defendants and against Plaintiff with respect to this

   Count and that Plaintiff’s requested relief be denied in its entirety;

           B.     That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and

           C.     For such further relief as the Court deems just and proper.

                                            COUNT V
                    Unauthorized Publication of Name and Likeness in Violation
                                of Section 540.08, Florida Statutes
                                      Against all Defendants

           119.   ISP Defendants repeat, re-state and incorporate by reference their responses to

   paragraphs 1 through 118 above and further respond that:

           120.   ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           121.   ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph and therefore deny the same.

           122.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           123.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           124.   ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

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   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           125.    ISP Defendants deny the allegations of this paragraph as they relate to ISP

   Defendants. ISP Defendants are without sufficient information or knowledge to admit or deny

   the allegations of this paragraph as they relate to the other Defendants and therefore deny the

   same.

           126.    This paragraph contains conclusions of law for which no response is necessary,

   but to the extent a response is deemed necessary ISP Defendants deny the allegations of this

   paragraph.

           WHEREFORE, ISP Defendants pray for the following relief:

           A.      That judgment enter for ISP Defendants and against Plaintiff with respect to this

   Count and that Plaintiff’s requested relief be denied in its entirety;

           B.      That ISP Defendants be awarded their costs and reasonable attorneys’ fees

   incurred herein pursuant to 17 U.S.C. § 515, and costs pursuant to 28 U.S.C. § 1920; and

           C.      For such further relief as the Court deems just and proper.

                                           GENERAL DENIAL

           Each and every allegation of the Complaint not specifically admitted is hereby denied.

                   AFFIRMATIVE DEFENSES AND ADDITIONAL DENIALS

           1.      The Complaint is barred, in whole or in part, by the doctrine of copyright misuse.

   Specifically, but without limitation, Plaintiff’s filing of this case, putative strategies for

   protecting their copyrights, general litigation strategies and intentional disregard of the Digital

   Millennium Copyright Act (“DMCA”) (including the rights and safeguards it affords to both

   copyright owners and internet service providers) show a clear intent by Plaintiff to use its



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   copyrights for a purpose other than which they were intended. Specifically, but without

   limitation, Plaintiff is using its copyrights and this lawsuit (along with multiple other lawsuits

   filed around the country) to extract settlement payments from innocent parties like ISP

   Defendants, instead of working within the structures of the DMCA to properly protect its

   copyrights. On information and belief, over the course of 4 months, Plaintiff has filed and/or

   alleged a handful of near-identical litigations seeking not to protect its legitimate rights, but

   rather because it seeks to use the harassment value of such litigations as a way to secure lucrative

   settlements from the defendants. The Complaint, for example, is almost a wholesale copy of the

   Complaint filed by another similarly acting litigant in this judicial district, Hydentra L.P. HLP

   General Partner, Inc. v. Era Technologies, Ltd., Case no. 1:15-cv-24293-MGC. Plaintiff’s

   actions in failing to follow the DMCA’s takedown process or work cooperatively with

   defendants to ensure the removal of allegedly infringing materials are not the actions of

   rightsholders looking to legitimately protect their interests. Additionally, on information and

   belief, Plaintiff made no effort to consider whether the individuals who posted materials to

   websites referenced in the Complaint were protected by the doctrine of fair use.

          2.      The Complaint is barred, in whole or in part, and Plaintiff is barred from equitable

   recovery, by the doctrine of unclean hands. Specifically, but without limitation, Plaintiff’s filing

   of this case, putative strategies at protecting its copyrights, trademarks and business, general

   litigation strategies and intentional disregard of statutory and judicial law (including the rights

   and safeguards afforded to both intellectual property owners and internet service providers) show

   a clear intent by Plaintiff to use its intellectual property rights and the legal system for purposes

   other than which they were intended. Specifically, but without limitation, Plaintiff is using its

   intellectual property rights, the court system and this lawsuit (along with numerous other



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   lawsuits filed around the country) to extract settlement payments from innocent parties like ISP

   Defendants, instead of working within the structures of law to properly protect its rights.

   Additionally, on information and belief, certain of the files in suit were uploaded by the

   Plaintiff’s own affiliates.

           3.      ISP Defendants’ actions and omissions as alleged, which ISP Defendants deny,

   constitute fair use, and as such, the Complaint, in whole or in part, must fail. Specifically, but

   without limitation, the appearance of Plaintiff’s trademarks and trade names used in conjunction

   or relation with Plaintiff’s actual works constitute traditional fair use and/or nominative fair use.

   In addition, Plaintiff has failed to properly consider whether the individuals posting to the

   websites referenced in the Complaint were entitled to do so under the doctrine of fair use.

           4.      The Complaint is barred, in whole or in part, by lack of scienter and/or because

   the alleged infringement was innocent. Specifically, but without limitation, to the extent that ISP

   Defendants engaged in the infringement of Plaintiff’s intellectual property rights, which ISP

   Defendants deny, such infringement was unintentional and without knowledge and therefore ISP

   Defendants are either not liable for such infringements or the damages that may be obtained

   against them are limited.

           5.      The Complaint is barred, in whole or in part, because any damages to Plaintiffs

   were not the proximate result of ISP Defendants’ actions or omissions. Specifically, but without

   limitation, ISP Defendants engaged in no conduct or omissions which resulted in any damages to

   Plaintiff which were a natural, direct and uninterrupted consequence of their actions or

   omissions. To the contrary, to the extent Plaintiff suffered any damages, they were as a result of

   the actions and omissions of third parties (e.g., those individuals who allegedly uploaded

   Plaintiff’s works, trademarks and trade names).



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           6.      The Complaint is barred, in whole or in part, because ISP Defendants do not host

   the websites at issue in this litigation and allegations to the contrary violate Plaintiff’s duties of

   reasonable investigation under F.R.C.P. 11.

           7.      The Complaint is barred, in whole or in part, because ISP Defendants do not

   exercise any control over (and could not possibly exercise control over) the content that appears

   at the websites at issue in this litigation and allegations to the contrary violate Plaintiff’s duties of

   reasonable investigation under F.R.C.P. 11.

           8.      Plaintiff is not entitled to injunctive relief because it has not suffered irreparable

   harm. Specifically, but without limitation, to the extent that Plaintiff has suffered any harm,

   which ISP Defendants deny, any such harm can be fully remedied by monetary damages only.

           9.      Plaintiff cannot recover damages from ISP Defendant to the extent that damages

   alleged by Plaintiff are speculative or uncertain. Specifically, but without limitation, Plaintiff is

   not entitled to actual damages because it is impossible with any certainty to demonstrate that it

   lost any actual profits from the alleged infringement or that ISP Defendants made any profits

   attributable directly to the alleged infringement.

           10.     Plaintiff cannot recover damages from ISP Defendants to the extent that Plaintiff

   failed to mitigate its alleged damages. Specifically, but without limitation, to the extent that

   Plaintiff failed to promptly report any alleged infringement it learned about on the websites at

   issue in this litigation and therefore allowed such alleged infringements to stay on such websites,

   Plaintiff failed to mitigate its alleged damages.

           11.     Plaintiff has failed to comply with the requirements of the Digital Millennium

   Copyright Act (“DMCA”) and, as such, the Complaint must fail in whole or in part.

   Specifically, but without limitation, ISP Defendants are entitled to the safe harbors of the DMCA



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   and ISP Defendants are not liable for monetary relief or injunctive relief (except as explicitly

   provided therein) unless the conditions of the DMCA have been met, including, without

   limitation, that Plaintiff first notify ISP Defendants of a claimed infringement and afford the

   proper time for ISP Defendants to respond to such notification. In addition, Plaintiff failed to

   consider the fair use doctrine before sending takedown notices and/or initiating the present

   litigation.

           12.    ISP Defendants are entitled to the safe harbor of the Digital Millennium

   Copyright Act and, as such, the Complaint must fail in whole or in part. Specifically, but

   without limitation, ISP Defendants have, inter alia, registered an agent with the copyright office

   for the receipt of takedown notices, do not know of any specific instances of infringement on the

   websites and when they receives knowledge or notification work expeditiously to remove such

   instances, accommodate and do not interfere with standard technical measures to protect

   copyrights, have adopted, reasonably implemented and informed users of a repeat infringer

   policy and do not receive financial benefit directly attributable to any allegedly infringing

   material.

           13.    The Complaint fails in whole or in part because the alleged infringements were

   neither the result of the actions of ISP Defendants, nor within ISP Defendants’ reasonable

   control. Specifically, but without limitation, if any material was available on the websites at

   issue in this litigation infringed upon Plaintiff’s rights, they were not made available by ISP

   Defendants and could not be reasonably controlled by ISP Defendants. Under precedent from

   this Court, the actions of the ISP Defendants do not constitute direct infringement.

           14.    ISP Defendants’ actions and omissions were lawful, justified and privileged.

   Specifically, but without limitation, ISP Defendants acted in all times in accordance with the



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   provisions of the Digital Millennium Copyright Act and therefore cannot be liable for claims of

   copyright infringement. Furthermore, ISP Defendants cannot be liable for the actions and

   omissions of the users, who are third parties not controlled by ISP Defendants, of the websites

   owned and operated by third parties not controlled by ISP Defendants.

          15.     The Complaint fails, in whole or in part, because ISP Defendants lacked the

   necessary volition required to state a claim for direct copyright infringement. Specifically, but

   without limitation, because ISP Defendants themselves did not make available any of the

   allegedly infringing works on the websites, but on the contrary such works were uploaded to

   third-party owned and operated websites by yet other third parties, ISP Defendants cannot be

   liable for direct copyright infringement.

          16.     The Complaint is barred, in whole or in part, because the accused actions do not

   create any likelihood of confusion. Specifically, but without limitation, no reasonable consumer

   would be confused as to any affiliation as between ISP Defendants and Plaintiff or be confused

   as to the origin, producer or manufacturer of the works on the websites at issue in this litigation.

          17.     Without admitting that the Complaint states a claim, any remedies are limited to

   prevent an overlapping or duplicative recovery pursuant to the various claims against ISP

   Defendants or for any alleged single wrong. Specifically, but without limitation, Plaintiff has

   alleged multiple alternative theories of liabilities against ISP Defendants for the same single

   alleged wrongs, and are not entitled to multiple damages for the same as they would constitute

   overlapping or duplicative recovery.

          ISP Defendants have not knowingly or intentionally waived any applicable affirmative

   defenses and reserve the right to assert and rely on such other applicable affirmative defenses as

   may become available or apparent during discovery proceedings. ISP Defendants further reserve



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   the right to amend their answer and/or affirmative defenses accordingly and/or to delete

   affirmative defenses that they determine are not applicable during the course of subsequent

   discovery.

     ISP DEFENDANTS DEMAND A TRIAL BY JURY ON ALL CLAIMS SO TRIABLE




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    Respectfully submitted:

    /s/ Valentin Gurvits                  /s/ Brady J. Cobb
    Valentin D. Gurvits (pro hac vice     Brady J. Cobb, Esquire
    application forthcoming)              Florida Bar No. 031018
    Matthew Shayefar (pro hac vice        COBB EDDY, PLLC
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    Evan@CFWlegal.com

    Attorneys for Defendants
    Webzilla Inc. and WZ Communications
    Inc.

    Dated: December 16, 2015




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                                     CERTIFICATE OF SERVICE
           I hereby certify that a true and correct copy of the foregoing was served electronically
   via the CM/ECF electronic filing system on all counsel or parties of record on the attached
   service list this 16th day of December, 2015.
                                                            /s/ Brady J. Cobb
                                                            Brady J. Cobb

                                           SERVICE LIST
                                         1:15-cv-24289-FAM

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